         Case 2:16-cr-20032-JAR Document 846 Filed 08/18/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )       Case No. 16-20032-02-JAR
                                                     )
KARL CARTER,                                         )
                                                     )
                      Defendant.                     )


                   SUPPLEMENTAL STATUS REPORT OF RECORDED
                          TELEPHONE CALL DISCOVERY

       COMES NOW the United States of America, by and through Steven D. Clymer, Special

Attorney, Stephen R. McAllister, United States Attorney for the District of Kansas, and Duston

J. Slinkard, First Assistant United States Attorney, and provides the Court with the following

report on the status of production of recorded telephone call discovery related to the Federal

Public Defender (“FPD”)’s Motion for Discovery (Doc. 572) and the Court’s Order thereupon

(Doc. 705):

       1. This report supplements the government’s Status Report of Recorded Telephone Call

Discovery filed August 27, 2019 (Doc. 764) and Supplemental Status Reports of Recorded

Discovery filed on October 10, 2019 (Doc. 787), November 14, 2019 (Doc. 799), February 14,

2020 (Doc. 806).

       2. Since the filing of the government’s last Supplemental Status Report of Recorded

Discovery on February 14, 2020 (Doc. 806), the government located additional materials

believed to be responsive to the FPD’s Phone Discovery Motion and provided those materials to

the Court and the FPD as follows:
 Case 2:16-cr-20032-JAR Document 846 Filed 08/18/20 Page 2 of 3




       a. On June 22, 2020, the government delivered materials to the Court, which were

accompanied by inventory reports and later obtained and copied by the FPD for the

following individuals:

               1) With respect to the FPD’s first, in-custody, list – Ronald Cattrell and

               William Mitchell. See Attachment 1.

               2) With respect to the FPD’s second, non-custody, list – Oscar Aguilera,

               Luis Rocha-Tapia, Edna Torres-Gonzalez, and Domingo Uriarte. See

               Attachment 2.

       b. On July 6, 2020, the government delivered materials to the Court, which were

accompanied by inventories and later obtained and copied by the FPD for the following

individuals:

               1) With respect to the FPD’s first, in-custody, list – Steven Hohn, Tracy

               Rockers, and Luis Villa-Valencia. See Attachment 3.

               2) With respect to the FPD’s second, non-custody, list – Jason Bell, Victor

               Hugo Flores-Sanchez, Joe Freeman, and Jeffrey B. Jackson. See

               Attachment 4.

       c. On July 6, 2020, the government also delivered materials to the Court for

Shawn Sneed from the FPD’s first, in-custody, list. These materials had been located and

copied for production during the physical file review for discovery in the Black-related

2255 matter, 19-2491-JAR-JPO. The copies were provided to the FPD in the

government’s discovery disclosure on July 1, 2020, and the originals were delivered to

the Court on July 6, 2020. See Attachments 5 and 6.


                                         2
         Case 2:16-cr-20032-JAR Document 846 Filed 08/18/20 Page 3 of 3




       3. Because prior disclosure had been made in each of the foregoing matters previously,

the disclosure of these additional materials does not change the totals with respect to individuals

for whom materials were found and disclosed previously reported to the Court.

                                              Respectfully submitted,

                                              s/Duston J. Slinkard
                                              Duston J. Slinkard, #21294
                                              First Assistant United States Attorney
                                              444 SE Quincy Street, Room 290
                                              Topeka, KS 66683
                                              Phone: (785) 295-2850
                                              Fax: (785) 295-2853
                                              duston.slinkard@usdoj.gov




                                 CERTIFICATE OF SERVICE

       I hereby certify that on 18th day of August, 2020, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

to the counsel of record in this case.



                                              s/Duston J. Slinkard
                                              Duston J. Slinkard
                                              First Assistant United States Attorney




                                                 3
